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18
19                         UNITED STATES DISTRICT COURT
20          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
21
22    SONOS, INC.,                                 Case No. 2:20-cv-00169-JAK (DFMx)
23                    Plaintiff,                  JOINT STATUS REPORT
24          v.

25    GOOGLE LLC,

26                    Defendant.

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28

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  1           Plaintiff Sonos, Inc. and Defendant Google LLC submit this joint report in
  2   response to this Court’s July 11, 2024 Order (“Order”). In the Order, this Court
  3   instructed the parties to
  4                 file an updated joint report as to the status of the
  5                 proceedings in the Federal Circuit on the earlier of 10 days
                    after Google's petition for rehearing en banc is granted, or
  6                 by September 16, 2024. Based on a review of the joint
                    report, a determination will be made as to whether the stay
  7                 in this matter will be lifted, a schedule adopted, and/or a
                    status conference will be scheduled.
  8
  9   Dkt. 55.
10    1.      Status of Proceedings in the Federal Circuit
11            On June 24, 2024, Google filed a petition for rehearing en banc challenging
12    the Commission’s finding of infringement based on the following issue:
13                  [w]hether the International Trade Commission’s authority
14                  under 19 U.S.C. § 1337(a)(1)(B)(i) is limited to articles that
                    infringe a patent as imported, or instead extends to cases
15                  where infringement can occur only when additional
                    features are added or additional steps are performed after
16                  importation.
17    Appeal No. 22-1421, Pet. for Rehearing en banc, ECF No. 98.
18            On July 9, 2024, the Federal Circuit invited Sonos and the ITC to file
19    responses to Google’s petition. Sonos and the ITC filed responses on August 8,
20    2024.
21            On August 15, 2024, Sonos filed its Motion to Partially Lift Stay. See Dkt.
22    56. Sonos’s Motion noticed a hearing date for September 30, 2024. Id. Google
23    filed its Opposition on August 29, 2024. See Dkt. 57. And Sonos filed its Reply on
24    September 5, 2024. See Dkt. 58.
25            On September 10, 2024, the Federal Circuit denied Google’s petition and
26    indicated that the mandate will issue on September 17, 2024. Appeal No. 22-1421,
27    ECF No. 115.
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  1         Google now has until December 10, 2024 (90 days) to decide whether to file
  2   a petition for writ of certiorari to the Supreme Court.
  3   2.    The Parties’ Respective Positions on Whether the Stay Should be Lifted
  4   Sonos’s Position:
  5         Sonos submits that the Court should lift the stay partially as to Sonos’s
  6   expired sync and group volume patents for the reasons set forth in Sonos’s pending
  7   Motion to Partially Lift Stay. See Dkts. 56, 58. Regardless of whether Google
  8   decides to file a petition for writ of certiorari, it is undisputed that the ITC case is
  9   no longer subject to judicial review as to the expired patents. See Dkt. 57. Thus,
10    any petition for writ of certiorari could not be directed to the expired patents and
11    there is no reason to continue the stay for those patents. Waiting another 90 days
12    for Google to decide whether it wishes to file a petition for writ of certiorari on
13    issues unrelated to Sonos’s expired patents would only compound the prejudice that
14    Sonos has already endured.
15          Alternatively, the Court may lift the stay for all the patents asserted in this
16    case, even if Google files a petition for writ of certiorari. As an initial matter,
17    Sonos does not see how such a petition could be successful. The Federal Circuit
18    denied Google’s petition for rehearing en banc without even having to issue an
19    opinion. There is little to no chance that the Supreme Court would grant Google’s
20    petition on the same issue. But even if Google were to file such a petition, Sonos
21    submits that the Court should nevertheless lift the stay in full because the issues in
22    the petition would be different from, and not impact, any of the issues before this
23    Court. See Dkt. 54; see also Spansion, LLC v. Samsung Elecs. Co., Ltd., No. 10-
24    CV-685-WMC, 2011 WL 13209596, at *2-3 (W.D. Wis. May 23, 2011) (denying
25    motion for mandatory stay because “the issues subject to review in [the
26    Commission] proceedings [were] not the same as those [in the district court],” such
27    that a stay was not required per “[t]he purpose of § 1659(a),” which “is to ‘prevent
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  1   separate proceedings on the same issues occurring at the same time’” (quoting In re
  2   Princo Corp., 478 F.3d 1345, 1354 (Fed. Cir. 2007).
  3
  4   Google’s Position:
  5         The Court should continue the stay until the Commission’s decision is
  6   rendered final through exhaustion of appellate proceedings. Dkt. 54. The Court
  7   previously decided to continue the stay during pending appellate review, and there is
  8   good reason to stay the course until the deadline for Google to file a petition for writ
  9   of certiorari. For example, Sonos has previously contended that the Commission’s
10    and/or Federal Circuit’s determinations on infringement are relevant to the scope of
11    remaining issues to be litigated and to setting a case schedule. If Sonos is going to
12    rely on the Commission’s and/or Federal Circuit’s determinations on infringement,
13    then those determinations – including the Commission’s determination that Google’s
14    original products infringed (unexpired) U.S. Patent No. 10,439,896, which would be
15    subject to vacatur based on the outcome of Google’s petition – should be final before
16    the stay is lifted. Therefore, if Google files a petition for writ of certiorari, then the
17    Court should continue the stay until the Supreme Court rules on the petition. If, on
18    the other hand, Google does not file a petition for writ of certiorari, the appellate
19    proceedings will be final and the stay should then be lifted in full.
20          The Court should deny Sonos’s request to partially lift the stay as to the expired
21    patents for the reasons set forth in Google’s Opposition. See Dkt. 57. Sonos waited
22    years to sue on these expired patents, did not seek a preliminary injunction, and would
23    not be unduly prejudiced by a continued stay because, as a matter of law, delay in
24    collecting monetary damages - the only relief available to Sonos for alleged
25    infringement of expired patents - cannot amount to undue prejudice. Further,
26    Sonos’s proposal to proceed with piecemeal litigation would multiply the Court’s
27    work, whereas maintaining the stay will further the interests of judicial economy and
28    conservation of the parties’ resources.
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  1   Dated: September 16, 2024         ORRICK, HERRINGTON & SUTCLIFFE LLP
  2                                     and
                                        LEE SULLIVAN SHEA & SMITH LLP
  3
  4                                     By:         /s/ Alyssa Caridis
                                                       ALYSSA CARIDIS
  5                                           Attorneys for Plaintiff, SONOS, INC.
  6
  7   Dated: September 16, 2024         QUINN EMANUEL URQUHART & SULLIVAN, LLP
  8
  9                                     By:          /s/ Lance Yang
                                                           LANCE YANG
10                                            Attorneys for Defendant, GOOGLE LLC
11
12                                FILER’S ATTESTATION
13          I, Alyssa Caridis, pursuant to Civil Local Rule 5-4.3.4(2)(i), attest that all
14    other signatories listed, and on whose behalf the filing is submitted, concur in the
15    filing’s content and have authorized the filing.
16
17    Dated: September 16, 2024                /s/ Alyssa Caridis
                                              ALYSSA CARIDIS
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